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                                                           STANDARDIZED FUND ACCOUNTING REPORT

                                                           SECURITIES AND EXCHANGE COMMISSION
                                                                                  vs.
                                                          NATURAL DIAMONDS INVESTMENT CO., et al.
                                                                CASE NO.: 19-CV-80633-ROSENBERG
                                                        Reporting Period January 1, 2021 through March 31, 2021

   FUND ACCOUNTING


                                                                                                                  Detail   Subtotal
                     Beginning Balance
   Line 1                                                                                                                    $67,126.02

   Line 2            Business Income                                                                                       $1,807,143.10

   Line 3            Cash and Securities                                                                                          $0.00
                     Interest/Dividend
   Line 4            Income                                                                                                       $0.00

   Line 5            Business Asset Liquidation                                                                                   $0.00

   Line 6            Personal Asset Liquidation                                                                                   $0.00
                     Third-Party Litigation
   Line 7            Income                                                                                                       $0.00

   Line 8            Miscellaneous - Other                                                                                        $0.00

                     TOTAL FUNDS (Lines 1-8)                                                                               $1,874,269.12

                                           Decreases in Fund Balance:


   Line 9            Disbursements to Investors                                                                                   $0.00

   Line 10           Disbursements for Receivership Operations                                                                    $0.00

   Line 10a          Disbursements to Receiver or Other Professionals                                                       $221,629.49

   Line 10b          Business Asset Expenses (Bank Service Charge)                                                               $88.10

   Line 10c          Personal Asset Expenses                                                                                       $0.00

   Line 10d          Investment Expenses                                                                                          $0.00

   Line 10e          7KLUG3DUW\/LWLJDWLRQ([SHQVHV                                                                             $0.00

                     Attorneys Fees                                                                                               $0.00

                     Litigation Expenses                                                                                          $0.00

                     Total Third-Party Litigation Expenses                                                                        $0.00

                     Total Disbursements for Receivership Operations:                                                       $221,717.59

                        Disbursements for Distribution Expenses Paid by the Fund:
   Line 11

                                    Distribution Plan Development Expenses:
   Line 11a

                     Fees                                                                                                         $0.00

                     Fund Administrator                                                                                           $0.00
                     Independent Distribution
                     Consultant (IDC)                                                                                             $0.00

                     Distribution Agent                                                                                           $0.00

                     Consultants                                                                                                  $0.00

                     Legal Advisers                                                                                               $0.00

                     Tax Advisers                                                                                                 $0.00

                     Administrative Expenses                                                                                      $0.00

                     Miscellaneous - Other                                                                                        $0.00

                     Total Plan Development Expenses                                                                              $0.00

                                    Distribution Plan Implmentation Expenses:
   Line 11b

                     Fees

                     Fund Administrator                                                                                           $0.00
                     Independent Distribution
                     Consultant (IDC)                                                                                             $0.00

                     Distribution Agent                                                                                           $0.00

                     Consultants                                                                                                  $0.00

                     Legal Advisers                                                                                               $0.00

                     Tax Advisers                                                                                                 $0.00




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                        Administrative Expenses                                                    $0.00

                        Investor Identification                                                    $0.00

                        Notice/Publishing Approved Plan                                            $0.00

                        Claimant Identification                                                    $0.00

                        Claims Processing                                                          $0.00

                        Website Maintenance/Call Center                                            $0.00

                        Fund Administrator Bond                                                    $0.00

                        Miscellaneous - Other                                                      $0.00

                        Federal Account for Investor Restitution (FAIR) Reporting Expenses         $0.00

                        Total Plan Implementation Expenses Not Paid by the Fund                    $0.00

                        Total Disbursements for Distribution Expenses Paid by the Fund             $0.00

                                             Disbursements to Court/Other:
   Line 12

   Line 12a             Investment Expenses/Court Registry Investment System (CRIS) Fees           $0.00

   Line 12b             Federal Tax Payments                                                       $0.00

                        Total Disbursements to Court/Other:                                        $0.00

                        Total Funds Disbursed (Lines 9-11):                                  $221,717.59

   Line 13              Ending Balance (As of 3/31/2021):                                    1,652,551.53

   Line 14              Ending Balance of Fund - Net Assets:

   Line 14a             Cash & Cash Equivalents                                                    $0.00

   Line 14b             Other Assets or Uncleared Funds                                            $0.00

                        Total Ending Balance of Fund - Net Assets                                  $0.00



   OTHER SUPPLEMENTAL
                                   Report of Items NOT to be Paid by the Fund:
   INFORMATION:
                        Disbursements for Plan Adminisration Expenses Not Paid by the
   Line 15              Fund:                                                                      $0.00

   Line 15a             Fees                                                                       $0.00

                        Fund Administrator                                                         $0.00

                        IDC                                                                        $0.00

                        Distribution Agent                                                         $0.00

                        Consultants                                                                $0.00

                        Legal Advisers                                                             $0.00

                        Tax Advisers                                                               $0.00

                        Administrative Expenses                                                    $0.00

                        Miscellaneous                                                              $0.00

                        Total Plan Development Expenses Not Paid by the Fund                       $0.00

                               Plan Implementation Expenses Not Paid by the Fund:
   Line 15b                                                                                        $0.00

                        Fees

                        Fund Administrator                                                         $0.00

                        IDC                                                                        $0.00




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                                         Distribution Agent                                                      $0.00

                                         Consultants                                                             $0.00

                                         Legal Advisers                                                          $0.00

                                         Tax Advisers                                                            $0.00

                                         Administrative Expenses                                                 $0.00

                                         Investor Identification:                                                $0.00

                                         Notice/Publishing Approved Plan                                         $0.00

                                         Claimant Identification                                                 $0.00

                                         Claims Processing                                                       $0.00

                                         Website Maintenance/Call Center                                         $0.00

                                         Fund Administrator Bond                                                 $0.00

                                         Miscellaneous                                                           $0.00

                                         FAIR Reporting Expenses                                                 $0.00

                                         Total Plan Implementation Expenses Not Paid by the Fund                 $0.00

                                              Tax Administrator Fees & Bonds Not Paid by the Fund:
   Line 15c
                                         Total Disbursements for Plan Administration Expenses Not Paid
                                         by the Fund                                                             $0.00

                                                Disbursements to Court/Other Not Paid by the Fund:
   Line 16                                                                                                       $0.00

   Line 16a                              Investment Expenses/CRIS Fees                                           $0.00

   Line 16a                              Federal Tax Payments                                                    $0.00

                                         Total Disbursements to Court/Other Not Paid by the Fund:                $0.00

   Line 17                               DC & State Tax Payments                                                 $0.00

   Line 18                               No. of Claims:

   Line 18a                              # of Claims Received This Reporting Period                          0

   Line 18b                              # of Claims Received Since the Inception of Fund                    0

   Line 19                               No. of Claimants/investors:                                         0

   Line 19a                              # of Claimants/Investors Paid This Reporting Period                 0

   Line 19b                              # of Claimants/Investors Paid Since Inception of Fund               0




          r:
   Receiver:




   By:______________________________________
      Jeffrey C. Schneider, Court Appointed Receiver

      Jeffrey C. Schneider   (printed name)

      Date: April 30, 2021




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